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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                          March 28, 2025
                                                 Western District of Texas                                CLERK, U.S. DISTRICT COURT
                                                                                                          WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                           CM
                                                                                                       BY: ________________________________
                                                                                                                               DEPUTY
                             v.                                 )
                  HECTOR MARTINEZ
                                                                )       Case No.      SA:25-MJ-483
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 27, 2025                              in the county of Bexar                                   in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
18/922(o)                                  Illegal Possession of a Machinegun

                                           PENALTIES:
                                           Up to 10 years imprisonment; $250,000 fine; 3 years SR
                                           $100 mandatory special assessment


         This criminal complaint is based on these facts:




              Continued on the attached sheet.

                                                                        Matthew Eller                  Digitally signed by Matthew Eller
                                                                                                       Date: 2025.03.27 16:06:40 -05'00'
                                                                                           Complainant’s signature

                                                                        Matthew Eller, ATF, SA
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:      March 28, 2025
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Richard B. Farrer, US Magistrate Judge
                                                                                            Printed name and title
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Matthew Eller, being duly sworn do hereby depose and state:

   1. I am currently employed as a Special Agent (SA) with the Bureau of Alcohol, Tobacco,
      Firearms and Explosives (ATF) and have been so employed since May 2023. Since May
      2023, I have participated in investigations concerning violations of Title 18.

   2. In March of 2025, ATF Special Agents began investigating the Facebook profile “Hector
      Martinez,” (MARTINEZ) which belongs to Hector Martinez.

   3. On February 27, 2025, MARTINEZ sold an ATF undercover agent a Kimber, model
      Eclipse Pro II, serial number KR21209. An NCIC query of this firearm revealed the firearm
      was stolen in Austin, Texas on February 24, 2025. This undercover deal occurred in San
      Antonio, Texas, in the Western District of Texas.

   4. On March 4, 2025, MARTINEZ sold an ATF undercover agent a Glock, model 19X, 9mm
      caliber, serial number CAHU931 which was equipped with a Glock switch, also
      known as a Machinegun Conversion Device, and a Ruger, model LC9, 9mm caliber,
      serial number 324-36586. An NCIC query of the Glock, model 19X revealed it was stolen
      in San Antonio, Texas on August 25th, 2024. This undercover deal occurred in San
      Antonio, Texas, in the Western District of Texas.

   5. On March 13, 2025, MARTINEZ sold an ATF undercover agent four handguns. These
      handguns include a Ruger, model SP101, .357 caliber, serial number 571-11288, a German
      Sports Guns, model GSG-1911, .22 caliber, serial number A442354, a Sig Sauer, model
      P365, 9mm caliber, serial number 66G065276, and a Kimber, model Raptor II, .45 caliber,
      serial number KU371172. An NCIC query of these firearms revealed that three of the four
      were stolen. This undercover deal occurred in San Antonio, Texas, in the Western District
      of Texas.

   6. On March 27, 2025, MARTINEZ agreed to sell an ATF undercover agent four handguns.
      MARTINEZ arrived to meet the undercover agent in San Antonio and was arrested by
      ATF.

   7. None of firearms recovered from MARTINEZ were manufactured in the State of Texas.
      Therefore, they all traveled in interstate and foreign commerce.

   8. Machine Gun Conversion Devices (MCDs), also known as “Glock Switches,” are used to
      convert a semi-automatic handgun, which under normal operation can only fire a single
      round every time the trigger is pulled, into a fully automatic machinegun that can fire
      multiple rounds, even up to an entire magazine full of rounds, with one single trigger pull.
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       The Glock, model 19X, 9mm caliber, serial number CAHU931, equipped with a Glock
       switch, is a machine gun.

Based on the above facts, your affiant believes that there is probable cause that Hector Martinez
knowingly committed the offense of Possession of a Machinegun in violation of 18 U.S.C. §
922(o).

                                                             Digitally signed by
                                                             Matthew Eller
                                             Matthew Eller   Date: 2025.03.27
                                                             16:07:21 -05'00'
                                                                                   _________
                                            Special Agent Matthew Eller
                                            Bureau of Alcohol, Tobacco, Firearms, and
                                            Explosives



SUBSCRIBED AND SWORN TO 21 THIS 28th
                                ___ DAY OF March 2025.


                                            ______________________________________
                                            HONORABLE RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE
